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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                               Eastern Division

Bradley Hamilton, et al.
                                                     Plaintiff,
v.                                                                Case No.: 1:20−cv−00292
                                                                  Honorable Steven C. Seeger
Oswego Community Unit School District 308, et
al.
                                                     Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, April 28, 2022:


         MINUTE entry before the Honorable Steven C. Seeger: The Court reviewed
Defendants' statement on discovery issues (Dckt. No. [110]). To be clear, this Court is not
clear why Defendant filed it, and what new information it contains. After giving it a read,
it seems to contain information that this Court knew already. Also, this Court did not do a
line−by−line comparison (at least not for every paragraph), but it seems strikingly similar
if not identical to a statement about discovery (with the same exhibits, to boot) filed by
defense counsel on March 18, 2022. They both contained 32 paragraphs, and based on a
few moments of comparison, the content looks the same. If there is new information in
there, it is buried in a sea of old information. Telling this Court information that it already
knows, without an explanation, simply slows the Court down, because this Court is left to
wonder and search for the point. Defense counsel should come out and say what the point
is, and what new information the filing contains, so this Court does not have to spend the
time searching for the point. A supplemental statement with an explanation is due by May
2. Mailed notice(jjr, )




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